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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SEMK PRODUCTS LIMITED,              )
                                    )                     Case No. 24-cv-2229
           Plaintiff,               )
                                    )                     Judge Matthew F. Kennelly
v.                                  )
                                    )                     Magistrate Judge Sunil R. Harjani
THE INDIVIDUALS, CORPORATIONS,      )
LIMITED LIABILITY COMPANIES,        )
PARTNERSHIPS AND UNINCORPORATED     )
ASSOCIATIONS IDENTIFIED ON SCHEDULE )
A HERETO,                           )
                                    )
           Defendants.              )

   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANT NO. 116
                              “TORASASI”

         Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff SEMK
PRODUCTS LIMITED hereby dismisses without prejudice all causes of action in the complaint
as to Defendant No. 116 “TORASASI”. As a result, the Preliminary Injunction entered on April
17, 2024 [Dkt. No. 54] no longer applies to this Defendant and the Motion to Vacate the
Preliminary Injunction [Dkt. No. 78] is moot. Each party shall bear its own attorney's fees and
costs.
         The respective Defendant has not filed an answer to the complaint or a motion for
summary judgment in this matter. Therefore, it is respectfully submitted that dismissal under
Rule 41(a)(1) is appropriate.
                                      Respectfully submitted,


Dated: June 4, 2024                   By:     s/Michael A. Hierl             _
                                              Michael A. Hierl (Bar No. 3128021)
                                              William B. Kalbac (Bar No. 6301771)
                                              Robert P. McMurray (Bar No. 6324332)
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                                              SEMK PRODUCTS LIMITED
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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Notice of Voluntary Dismissal was filed electronically with the Clerk of the Court and served on
all counsel of record and interested parties via the CM/ECF system on June 4, 2024.



                                                      s/Michael A. Hierl
